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201 Williams Avenue
Huntsville AL 35801
PH: 256-319-3600
Fax: 256-319-3644


MDM Holdings, Inc. DBA                                                                                                                                               Account Number
Experience Signs                                                                                                                                                         2060003296
143 Foxhound Dr.                                                                                                                                                     Statement Period
Madison, AL 35758                                                                                                                                              Sep 01, 2019 To Sep 30, 2019
                                                                                                                                                              Printable Version   Save as PDF

Economy Business Checking                                        Account Number: 2060003296                                                                 Download transactions: CSV

  View Images                                                                                                                                                                       Reconcile



  Account Summary
   Previous Balance                                                       $8,853.12         Average Balance                                                                       $15,027.93
   Number of Credits                                                            21          Minimum Balance                                                                        $8,853.12
   Total Credits                                                         $45,344.61         Average Collected Balance                                                             $13,841.21
   Number of Debits                                                             99
   Total Debits                                                          $35,593.83         Total Bank Charges                                                                        $0.00
   New Balance                                                           $18,603.90          (Includes Service Charge)


  Checks (24 In Order)
   No              Date                                Amount       No            Date                                    Amount    No       Date                                    Amount
   1015            Sep 12, 2019                         $43.40      1052        * Sep 30, 2019                           $170.00    1132     Sep 09, 2019                          $2,375.00
   1043         * Sep 26, 2019                          $50.00      1055        * Sep 26, 2019                            $41.00    1133     Sep 12, 2019                            $80.00
   1044            Sep 13, 2019                        $141.09      1077        * Sep 05, 2019                          $1,150.94   1134     Sep 19, 2019                           $476.82
   1045            Sep 17, 2019                         $97.45      1078          Sep 03, 2019                           $300.00    1136   * Sep 25, 2019                            $91.53
   1046            Sep 18, 2019                         $76.40      1088        * Sep 03, 2019                           $600.00    1137     Sep 27, 2019                           $103.25
   1048         * Sep 17, 2019                         $350.00      1129        * Sep 03, 2019                           $586.80    1138     Sep 23, 2019                          $2,375.00
   1049            Sep 16, 2019                      $3,000.00      1130          Sep 04, 2019                            $31.66    1139     Sep 23, 2019                           $300.00
   1050            Sep 23, 2019                         $75.00      1131          Sep 04, 2019                           $169.95    9999   * Sep 11, 2019                           $502.80


  Other Debits
   Date                                                                                  Transaction Details                                                                         Amount
          Sep 03, 2019 Debit Card Transaction                                                                                                                                        $68.00-
                       CITIBANK, N.A. SIOUX FALLS SD
                       Terminal ID: COLLTERM Serial #: 000112277

          Sep 03, 2019 Debit Card Transaction                                                                                                                                        $99.82-
                       HUNT CLUB BURGERS N GR MADISON AL
                       Terminal ID: 78576102 Serial #: 000704458

          Sep 03, 2019 Ach withdrawal                                                                                                                                               $579.95-
                       SHELL PAYMENT

          Sep 04, 2019 Debit Card Transaction                                                                                                                                        $53.40-
                       VISUAL COMMUNICATIONS 800-5664162 MN
                       Terminal ID: 29571299 Serial #: 000394190

          Sep 04, 2019 Ach withdrawal                                                                                                                                               $138.00-
                       BENETRENDS INC 8664236387

          Sep 04, 2019 Ach withdrawal                                                                                                                                               $367.74-
                       MERCHE-SOLUTIONS BILLING

          Sep 05, 2019 Debit Card Transaction                                                                                                                                        $27.57-
                       MAPCO 7539 DECATUR AL
                       Terminal ID: 75393700 Serial #: 000063256

          Sep 05, 2019 Debit Card Transaction                                                                                                                                       $172.49-
                       SPECTRUM 888-438-2427 MO
                       Terminal ID: 99999999 Serial #: 000276198

          Sep 05, 2019 Debit Card Transaction                                                                                                                                       $265.15-
                       N. GLANTZ AND SON 502-4264473 KY
                       Terminal ID: 99999999 Serial #: 000868510

          Sep 05, 2019 Ach withdrawal                                                                                                                                                 $1.75-
                       INTUIT PAYROLL S QUICKBOOKS

          Sep 05, 2019 Ach withdrawal                                                                                                                                               $150.00-
                       INTUIT PAYROLL S QUICKBOOKS

          Sep 05, 2019 Ach withdrawal                                                                                                                                             $4,073.24-
                       INTUIT PAYROLL S QUICKBOOKS

          Sep 09, 2019 Debit Card Transaction                                                                                                                                       $110.00-
                       HUNT CLUB BURGERS N GR MADISON AL
                       Terminal ID: 78576102 Serial #: 000479613

          Sep 09, 2019 Debit Card Transaction                                                                                                                                       $422.72-
                       VERIZON WRLS Q1927-01 HUNTSVILLE AL
                       Terminal ID: 71238751 Serial #: 000145060

          Sep 09, 2019 Ach withdrawal                                                                                                                                                $79.94-
                       AL-DEPT OF REV DIRECT DBT

          Sep 10, 2019 Debit Card Transaction                                                                                                                                         $7.89-
                       MAPCO 3649 MADISON AL
                       Terminal ID: 36491112 Serial #: 000015310

          Sep 10, 2019 Debit Card Transaction                                                                                                                                        $85.00-
                       SHELL SERVICE S HUNTSVILLE AL
                       Terminal ID: 40765401 Serial #: 000315971

          Sep 10, 2019 Debit Card Transaction                                                                                                                                        $95.06-
                       GRIMCO INC 6363050088 MO
                       Terminal ID: 0000 Serial #: 000451393

          Sep 10, 2019 Debit Card Transaction                                                                                                                                       $110.06-
                       GRIMCO INC 6363050088 MO
                       Terminal ID: 0000 Serial #: 000034025

          Sep 11, 2019 Debit Card Transaction                                                                                                                                         $3.97-
                       WAL Wal-Mart Super 7200 MADISON AL
                       Terminal ID: 26900055 Serial #: 000027445

          Sep 11, 2019 Debit Card Transaction                                                                                                                                         $6.40-
                       WAL Wal-Mart Super 6109 MADISON AL
                       Terminal ID: 26900056 Serial #: 000063698

          Sep 11, 2019 Debit Card Transaction                                                                                                                                        $10.98-
                       INT*IN *LEVEL 7 CONCEP 405-7451010 OK
                       Terminal ID: 99999999 Serial #: 000437357

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Sep 11, 2019 Debit Card Transaction                                                                                  $68.66-
             HUNT CLUB BURGERS N GR MADISON AL
             Terminal ID: 78576102 Serial #: 000643863

Sep 11, 2019 Ach withdrawal                                                                                         $687.83-
             LIBERTY MUTUAL 401995080

Sep 12, 2019 Debit Card Transaction                                                                                 $200.00-
             JMS RUSSEL/NORTON META JACKSON TN
             Terminal ID: 99999999 Serial #: 000522202

Sep 13, 2019 Debit Card Transaction                                                                                    $7.62-
             WEATHERS ACE HARDWARE MADISON AL
             Terminal ID: 1212 Serial #: 000396177

Sep 13, 2019 Debit Card Transaction                                                                                  $30.96-
             MAPCO 7504 HUNTSVILLE AL
             Terminal ID: 75044669 Serial #: 000056114

Sep 13, 2019 Debit Card Transaction                                                                                  $47.28-
             TST* CORK & CRUST PIZZ MADISON AL
             Terminal ID: 99999999 Serial #: 000062207

Sep 16, 2019 Debit Card Transaction                                                                                  $23.51-
             HUNT CLUB BURGERS N GR MADISON AL
             Terminal ID: 78576101 Serial #: 000157664

Sep 16, 2019 Debit Card Transaction                                                                                  $41.78-
             NAME BADGES INT'L 8007660448 FL
             Terminal ID: 0114 Serial #: 000870873

Sep 16, 2019 Debit Card Transaction                                                                                  $44.10-
             SAGE 8009257243 TX
             Terminal ID: 0000 Serial #: 000060501

Sep 16, 2019 Debit Card Transaction                                                                                  $85.65-
             HUNT CLUB BURGERS N GR MADISON AL
             Terminal ID: 78576101 Serial #: 000107171

Sep 16, 2019 Ach withdrawal                                                                                        $1,025.78-
             IRS USATAXPYMT

Sep 17, 2019 Miscellaneous Debit                                                                                    $472.08-

Sep 17, 2019 Debit Card Transaction                                                                                  $99.99-
             CITY SCOOP SAN LEANDRO CA
             Terminal ID: 79971086 Serial #: 000293005

Sep 17, 2019 Ach withdrawal                                                                                         $234.84-
             DEPT OF LABOR UC_TAX

Sep 18, 2019 Debit Card Transaction                                                                                 $300.00-
             GRIMCO INC 6363050088 MO
             Terminal ID: 0000 Serial #: 000839176

Sep 18, 2019 Ach withdrawal                                                                                         $200.00-
             SHELL PAYMENT

Sep 18, 2019 Ach withdrawal                                                                                         $372.43-
             CHARTER COMMUNIC CHARTER CO

Sep 19, 2019 Debit Card Transaction                                                                                  $31.20-
             PAYPAL *CITYDECATUR San Jose CA
             Terminal ID: 33801713 Serial #: 000925326

Sep 19, 2019 Debit Card Transaction                                                                                 $649.73-
             GRIMCO INC 6363050088 MO
             Terminal ID: 0000 Serial #: 000302262

Sep 19, 2019 Debit Card Transaction                                                                                 $692.00-
             S & F Custom Sign Corp HARTSELLE AL
             Terminal ID: 99999999 Serial #: 000504179

Sep 19, 2019 Ach withdrawal                                                                                            $1.75-
             INTUIT PAYROLL S QUICKBOOKS

Sep 19, 2019 Ach withdrawal                                                                                         $150.00-
             INTUIT PAYROLL S QUICKBOOKS

Sep 19, 2019 Ach withdrawal                                                                                        $4,687.89-
             INTUIT PAYROLL S QUICKBOOKS

Sep 20, 2019 Debit Card Transaction                                                                                  $72.87-
             TUBELITE 3173529366 IN
             Terminal ID: 0000 Serial #: 000553991

Sep 20, 2019 Debit Card Transaction                                                                                 $230.96-
             TUBELITE 3173529366 IN
             Terminal ID: 0000 Serial #: 000536553

Sep 20, 2019 Debit Card Transaction                                                                                 $830.00-
             S & F Custom Sign Corp HARTSELLE AL
             Terminal ID: 99999999 Serial #: 000526683

Sep 20, 2019 Debit Card Transaction                                                                                  $55.00-
             EIG*HOSTGATOR.COM 713-5745287 MA
             Terminal ID: 00001000 Serial #: 000695923

Sep 20, 2019 Debit Card Transaction                                                                                 $299.00-
             REVLOCAL 8004567470 OH
             Terminal ID: 5684 Serial #: 000857647

Sep 23, 2019 Debit Card Transaction                                                                                  $21.79-
             HP *INSTANT INK 855-785-2777 CA
             Terminal ID: 99999999 Serial #: 000603563

Sep 23, 2019 Debit Card Transaction                                                                                  $59.00-
             BLAISE DRAKE - AIM SMA 610-685-9700 PA
             Terminal ID: 99999999 Serial #: 000202145

Sep 23, 2019 Debit Card Transaction                                                                                  $98.38-
             HUNT CLUB BURGERS N GR MADISON AL
             Terminal ID: 78576102 Serial #: 000130231

Sep 23, 2019 Debit Card Transaction                                                                                 $100.00-
             S & F Custom Sign Corp HARTSELLE AL
             Terminal ID: 99999999 Serial #: 000067719

Sep 23, 2019 Debit Card Transaction                                                                                 $591.00-
             S & F Custom Sign Corp HARTSELLE AL
             Terminal ID: 99999999 Serial #: 000292479

Sep 23, 2019 Debit Card Transaction                                                                                  $30.00-
             FACEBK U89AANELM2 Menlo Park CA
             Terminal ID: 99999999 Serial #: 000595549

Sep 23, 2019 Ach withdrawal                                                                                         $207.01-
             AL-DEPT OF REV DIRECT DBT

Sep 23, 2019 Ach withdrawal                                                                                         $286.48-
             AL ONESPOT TAX ALABAMA.GO

Sep 24, 2019 Debit Card Transaction                                                                                  $21.79-
             HP *INSTANT INK 855-785-2777 CA

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                    Terminal ID: 99999999 Serial #: 000198658

       Sep 24, 2019 Debit Card Transaction                                                                                                     $31.20-
                    PAYPAL *CITYDECATUR San Jose CA
                    Terminal ID: 17183548 Serial #: 000993125

       Sep 24, 2019 Debit Card Transaction                                                                                                    $175.89-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000198940

       Sep 24, 2019 Debit Card Transaction                                                                                                    $400.00-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000105296

       Sep 25, 2019 Debit Card Transaction                                                                                                    $292.55-
                    N. GLANTZ AND SON 502-4264473 KY
                    Terminal ID: 99999999 Serial #: 000392494

       Sep 26, 2019 Debit Card Transaction                                                                                                     $20.00-
                    MAKEAWISH AMERIC 8668801382 AZ
                    Terminal ID: 0000 Serial #: 000050734

       Sep 26, 2019 Debit Card Transaction                                                                                                     $31.17-
                    MAPCO 7504 HUNTSVILLE AL
                    Terminal ID: 75044669 Serial #: 000029348

       Sep 26, 2019 Debit Card Transaction                                                                                                     $44.96-
                    TST* CORK & CRUST PIZZ MADISON AL
                    Terminal ID: 99999999 Serial #: 000299266

       Sep 26, 2019 Debit Card Transaction                                                                                                     $57.89-
                    HUNT CLUB BURGERS N GR MADISON AL
                    Terminal ID: 78576102 Serial #: 000632641

       Sep 26, 2019 Debit Card Transaction                                                                                                    $200.00-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000712606

       Sep 26, 2019 Debit Card Transaction                                                                                                    $200.00-
                    MAKEAWISH AMERIC 8668801382 AZ
                    Terminal ID: 0000 Serial #: 000363166

       Sep 26, 2019 Debit Card Transaction                                                                                                      $9.99-
                    SPIKE MONTHLY DISCOUNT 8444453477 CO
                    Terminal ID: 0000 Serial #: 000330698

       Sep 26, 2019 Debit Card Transaction                                                                                                    $108.99-
                    Microsoft*Office 365 H msbill.info WA
                    Terminal ID: 99999999 Serial #: 000940146

       Sep 27, 2019 Debit Card Transaction                                                                                                    $200.00-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000049085

       Sep 27, 2019 Debit Card Transaction                                                                                                    $482.34-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000333178

       Sep 30, 2019 Debit Card Transaction                                                                                                     $59.00-
                    BLAISE DRAKE - AIM SMA 610-685-9700 PA
                    Terminal ID: 99999999 Serial #: 000078416

       Sep 30, 2019 Debit Card Transaction                                                                                                    $104.27-
                    HUNT CLUB BURGERS N GR MADISON AL
                    Terminal ID: 78576101 Serial #: 000917810


Deposits/Credits
Date                                                                           Transaction Details                                             Amount
Sep 03, 2019        Regular Deposit                                                                                                          $1,555.92

Sep 03, 2019        Regular Deposit                                                                                                          $2,235.00

Sep 05, 2019        Regular Deposit                                                                                                          $8,180.13

Sep 06, 2019        Ach deposit                                                                                                              $1,922.47
                    MERCHE-SOLUTIONS MERCH DEP

Sep 09, 2019        Regular Deposit                                                                                                          $2,148.88

Sep 10, 2019        Ach deposit                                                                                                                $190.12
                    MERCHE-SOLUTIONS MERCH DEP

Sep 11, 2019        Regular Deposit                                                                                                          $1,534.68

Sep 11, 2019        Ach deposit                                                                                                                $750.00
                    MERCHE-SOLUTIONS MERCH DEP

Sep 12, 2019        Regular Deposit                                                                                                          $9,065.37

Sep 16, 2019        Ach deposit                                                                                                                $556.51
                    MERCHE-SOLUTIONS MERCH DEP

Sep 17, 2019        Ach deposit                                                                                                                $159.49
                    MERCHE-SOLUTIONS MERCH DEP

Sep 18, 2019        Ach deposit                                                                                                                $760.40
                    MERCHE-SOLUTIONS MERCH DEP

Sep 19, 2019        Ach deposit                                                                                                                $334.35
                    MERCHE-SOLUTIONS AMEX DEP

Sep 20, 2019        Regular Deposit                                                                                                          $3,000.00

Sep 23, 2019        Ach deposit                                                                                                                $103.65
                    MERCHE-SOLUTIONS MERCH DEP

Sep 23, 2019        Ach deposit                                                                                                                $365.54
                    MERCHE-SOLUTIONS AMEX DEP

Sep 24, 2019        EFT/ACH Credit                                                                                                             $500.00
                    Dep 9.20.19 $3,000 SB $3,500

Sep 24, 2019        Regular Deposit                                                                                                          $1,881.51

Sep 24, 2019        Ach deposit                                                                                                                 $50.00
                    MERCHE-SOLUTIONS MERCH DEP

Sep 25, 2019        Ach deposit                                                                                                                $450.79
                    MERCHE-SOLUTIONS MERCH DEP

Sep 26, 2019        Ach deposit                                                                                                              $9,599.80
                    MERCHE-SOLUTIONS MERCH DEP


Daily Balances
 Date                                                Balance    Date                                   Balance    Date                        Balance
 Aug 31, 2019                                       $8,853.12   Sep 11, 2019                         $13,967.55   Sep 20, 2019           $12,692.09
 Sep 03, 2019                                      $10,409.47   Sep 12, 2019                         $22,709.52   Sep 23, 2019               $9,017.62
 Sep 04, 2019                                       $9,648.72   Sep 13, 2019                         $22,482.57   Sep 24, 2019           $10,820.25
 Sep 05, 2019                                      $11,987.71   Sep 16, 2019                         $18,818.26   Sep 25, 2019           $10,886.96


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Sep 06, 2019                               $13,910.18     Sep 17, 2019                               $17,723.39      Sep 26, 2019                            $19,722.76
Sep 09, 2019                               $13,071.40     Sep 18, 2019                               $17,534.96      Sep 27, 2019                            $18,937.17
Sep 10, 2019                               $12,963.51     Sep 19, 2019                               $11,179.92      Sep 30, 2019                            $18,603.90




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               https://www.myprogressbank.com/About-Us/ Privacy-Security/Privacy-Policy or we will mail you a free copy upon request if you call us at
               1-888-513-2288.




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201 Williams Avenue
Huntsville AL 35801
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Fax: 256-319-3644


MDM Holdings, Inc. DBA                                                                                                                                                 Account Number
Experience Signs                                                                                                                                                           2060003296
143 Foxhound Dr.                                                                                                                                                       Statement Period
Madison, AL 35758                                                                                                                                                Aug 02, 2019 To Aug 31, 2019
                                                                                                                                                                Printable Version   Save as PDF

Economy Business Checking                                         Account Number: 2060003296                                                                  Download transactions: CSV

  View Images                                                                                                                                                                         Reconcile



  Account Summary
   Previous Balance                                                          $0.00              Average Balance                                                                     $10,862.74
   Number of Credits                                                            22              Minimum Balance                                                                      $6,589.94
   Total Credits                                                       $49,120.36               Average Collected Balance                                                            $9,550.76
   Number of Debits                                                             83
   Total Debits                                                        $40,267.24               Total Bank Charges                                                                      $0.00
   New Balance                                                            $8,853.12              (Includes Service Charge)


  Checks (39 In Order)
   No              Date                                 Amount       No               Date                                   Amount   No       Date                                    Amount
   999             Aug 12, 2019                         $100.00      1014             Aug 12, 2019                          $300.00   1039     Aug 27, 2019                           $221.96
   1000            Aug 05, 2019                       $3,191.28      1016        * Aug 19, 2019                             $112.00   1041   * Aug 19, 2019                          $3,000.00
   1001            Aug 09, 2019                         $670.35      1017             Aug 16, 2019                            $3.50   1042     Aug 22, 2019                           $777.67
   1002            Aug 22, 2019                           $3.46      1018             Aug 23, 2019                           $30.50   1073   * Aug 26, 2019                          $5,800.00
   1003            Aug 12, 2019                         $842.27      1019             Aug 26, 2019                           $54.75   1075   * Aug 23, 2019                          $1,000.00
   1004            Aug 12, 2019                       $1,220.74      1020             Aug 19, 2019                           $46.50   1076     Aug 27, 2019                           $350.00
   1005            Aug 12, 2019                       $1,324.36      1032        * Aug 14, 2019                             $168.00   1079   * Aug 26, 2019                           $443.10
   1006            Aug 09, 2019                       $1,052.77      1033             Aug 14, 2019                           $17.50   1080     Aug 26, 2019                          $1,263.20
   1007            Aug 12, 2019                         $999.68      1034             Aug 29, 2019                           $47.84   1081     Aug 23, 2019                           $531.78
   1008            Aug 22, 2019                         $777.05      1035             Aug 29, 2019                           $18.07   1082     Aug 26, 2019                           $461.46
   1009            Aug 12, 2019                       $1,253.19      1036             Aug 27, 2019                           $53.39   1083     Aug 26, 2019                           $946.19
   1012         * Aug 09, 2019                          $318.85      1037             Aug 27, 2019                           $80.26   1084     Aug 26, 2019                          $1,026.22
   1013            Aug 13, 2019                         $300.00      1038             Aug 20, 2019                           $51.80   9999   * Aug 13, 2019                           $452.97


  Other Debits
   Date                                                                                      Transaction Details                                                                       Amount
          Aug 05, 2019 Miscellaneous Debit                                                                                                                                          $2,200.00-

          Aug 05, 2019 Miscellaneous Debit                                                                                                                                          $2,300.00-

          Aug 07, 2019 Ach withdrawal                                                                                                                                                 $107.73-
                       MAIN STREET CHKS CHECK CHGS

          Aug 09, 2019 Debit Card Transaction                                                                                                                                         $175.00-
                       ENGINEERING EXPRESS 9543540660 FL
                       Terminal ID: 3940 Serial #: 000776480

          Aug 09, 2019 Ach withdrawal                                                                                                                                                 $130.00-
                       BENETRENDS INC 8664236387

          Aug 09, 2019 Ach withdrawal                                                                                                                                                 $138.00-
                       BENETRENDS INC 8664236387

          Aug 12, 2019 Debit Card Transaction                                                                                                                                           $3.60-
                       PAYPAL *EBAY INC San Jose CA
                       Terminal ID: 62912992 Serial #: 000605241

          Aug 12, 2019 Debit Card Transaction                                                                                                                                          $33.47-
                       MAPCO 7504 HUNTSVILLE AL
                       Terminal ID: 75044669 Serial #: 000025420

          Aug 12, 2019 Debit Card Transaction                                                                                                                                          $39.95-
                       PAYPAL *FOUR BROS San Jose CA
                       Terminal ID: 13320970 Serial #: 000415896

          Aug 13, 2019 Debit Card Transaction                                                                                                                                          $43.43-
                       MAPCO 7539 DECATUR AL
                       Terminal ID: 75393700 Serial #: 000008623

          Aug 13, 2019 Debit Card Transaction                                                                                                                                         $252.66-
                       GRIMCO INC 6363050088 MO
                       Terminal ID: 0000 Serial #: 000670586

          Aug 13, 2019 Ach withdrawal                                                                                                                                                  $21.06-
                       MAIN STREET CHKS CHECK CHGS

          Aug 13, 2019 Ach withdrawal                                                                                                                                                  $38.33-
                       MAIN STREET CHKS CHECK CHGS

          Aug 14, 2019 Debit Card Transaction                                                                                                                                         $828.08-
                       BLUE CROSS AND BLUE SH 888-2581628 AL
                       Terminal ID: 14900000 Serial #: 000809545

          Aug 15, 2019 Debit Card Transaction                                                                                                                                          $32.82-
                       MAPCO 7543 DECATUR AL
                       Terminal ID: 75435868 Serial #: 000002695

          Aug 15, 2019 Debit Card Transaction                                                                                                                                          $44.10-
                       SAGE 8009257243 TX
                       Terminal ID: 0000 Serial #: 000748761

          Aug 15, 2019 Debit Card Transaction                                                                                                                                         $155.99-
                       DODGE DATA & ANALYTICS 8003936343 NY
                       Terminal ID: 0000 Serial #: 000345314

          Aug 15, 2019 Debit Card Transaction                                                                                                                                         $400.00-
                       GRIMCO INC 6363050088 MO
                       Terminal ID: 0000 Serial #: 000546795

          Aug 15, 2019 Debit Card Transaction                                                                                                                                         $676.33-
                       GRIMCO INC 6363050088 MO
                       Terminal ID: 0000 Serial #: 000786887

          Aug 16, 2019 Debit Card Transaction                                                                                                                                         $184.30-
                       GRIMCO INC 6363050088 MO
                       Terminal ID: 0000 Serial #: 000361317

          Aug 16, 2019 Debit Card Transaction                                                                                                                                         $184.30-

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                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000176007

       Aug 16, 2019 Debit Card Transaction                                                                                $252.51-
                    FEDEX 98585690 180-0463333 TN
                    Terminal ID: 000 Serial #: 000094330

       Aug 21, 2019 Miscellaneous Debit                                                                                     $15.00-
                    IncWire-FEE--MDM Holdings-Enseignes Transworld

       Aug 21, 2019 Debit Card Transaction                                                                                   $0.01-
                    CITY SCOOP SAN LEANDRO CA
                    Terminal ID: 79971086 Serial #: 000131959

       Aug 21, 2019 Debit Card Transaction                                                                                $199.98-
                    CITY SCOOP SAN LEANDRO CA
                    Terminal ID: 79971086 Serial #: 000674057

       Aug 21, 2019 Ach withdrawal                                                                                           $0.33-
                    INTUIT PAYROLL S QUICKBOOKS

       Aug 21, 2019 Ach withdrawal                                                                                           $0.42-
                    INTUIT PAYROLL S QUICKBOOKS

       Aug 23, 2019 Debit Card Transaction                                                                                  $33.32-
                    KROGER FU 4579 WALL TR MADISON AL
                    Terminal ID: 80960525 Serial #: 000276489

       Aug 23, 2019 Debit Card Transaction                                                                                  $39.88-
                    HUNT CLUB BURGERS N GR MADISON AL
                    Terminal ID: 78576102 Serial #: 000480108

       Aug 26, 2019 Debit Card Transaction                                                                                  $57.45-
                    HUNT CLUB BURGERS N GR MADISON AL
                    Terminal ID: 78576101 Serial #: 000726624

       Aug 26, 2019 Debit Card Transaction                                                                                $156.50-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000419245

       Aug 26, 2019 Debit Card Transaction                                                                                $843.50-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000794575

       Aug 27, 2019 Debit Card Transaction                                                                                  $21.79-
                    HP *INSTANT INK 855-785-2777 CA
                    Terminal ID: 99999999 Serial #: 000616614

       Aug 27, 2019 Debit Card Transaction                                                                                  $21.79-
                    HP *INSTANT INK 855-785-2777 CA
                    Terminal ID: 99999999 Serial #: 000717005

       Aug 27, 2019 Debit Card Transaction                                                                                   $9.99-
                    SPIKE MONTHLY DISCOUNT 8444453477 CO
                    Terminal ID: 0000 Serial #: 000120523

       Aug 27, 2019 Debit Card Transaction                                                                                $299.00-
                    REVLOCAL 8004567470 OH
                    Terminal ID: 5684 Serial #: 000325867

       Aug 28, 2019 Debit Card Transaction                                                                                  $36.91-
                    SAM & GREG'S #2 MADISON AL
                    Terminal ID: 99999999 Serial #: 000050628

       Aug 28, 2019 Debit Card Transaction                                                                                $245.52-
                    ROBIN RENTS EQUIPMENT 256-6861174 AL
                    Terminal ID: 32591338 Serial #: 000676550

       Aug 29, 2019 Debit Card Transaction                                                                                  $23.35-
                    FEDEX 98769946 180-0463333 TN
                    Terminal ID: 000 Serial #: 000812696

       Aug 30, 2019 Debit Card Transaction                                                                                  $34.83-
                    MAPCO 7504 HUNTSVILLE AL
                    Terminal ID: 75044669 Serial #: 000015690

       Aug 30, 2019 Debit Card Transaction                                                                                  $62.12-
                    HUNT CLUB BURGERS N GR MADISON AL
                    Terminal ID: 78576102 Serial #: 000266711

       Aug 30, 2019 Debit Card Transaction                                                                                $118.18-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000931467

       Aug 30, 2019 Debit Card Transaction                                                                                $215.64-
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000963234

       Aug 30, 2019 Debit Card Transaction                                                                                $277.41-
                    ROBIN RENTS EQUIPMENT 256-8839312 AL
                    Terminal ID: 32609013 Serial #: 000933737


Deposits/Credits
Date                                                                     Transaction Details                               Amount
Aug 02, 2019        Regular Deposit                                                                                       $5,769.14

Aug 02, 2019        Regular Deposit                                                                                       $2,340.00

Aug 05, 2019        Regular Deposit                                                                                       $6,950.55

Aug 08, 2019        Regular Deposit                                                                                       $5,880.36

Aug 09, 2019        Ach deposit                                                                                            $109.00
                    MERCHE-SOLUTIONS AMEX DEP

Aug 09, 2019        Ach deposit                                                                                           $3,734.76
                    MERCHE-SOLUTIONS MERCH DEP

Aug 13, 2019        Regular Deposit                                                                                       $2,700.00

Aug 13, 2019        Ach deposit                                                                                            $348.78
                    MERCHE-SOLUTIONS MERCH DEP

Aug 15, 2019        Regular Deposit                                                                                       $1,375.00

Aug 15, 2019        Ach deposit                                                                                            $865.47
                    MERCHE-SOLUTIONS MERCH DEP

Aug 19, 2019        Debit Card Transaction                                                                                 $184.30
                    GRIMCO INC 6363050088 MO
                    Terminal ID: 0000 Serial #: 000524224

Aug 21, 2019        Wire Transfer In                                                                                      $5,776.78
                    IncWire-MDM Holdings-Enseignes Transworld

Aug 21, 2019        Regular Deposit                                                                                       $5,433.87

Aug 21, 2019        Ach deposit                                                                                            $819.07
                    MERCHE-SOLUTIONS MERCH DEP

Aug 23, 2019        Regular Deposit                                                                                        $750.00

Aug 23, 2019        Regular Deposit                                                                                       $2,340.68

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Aug 26, 2019      Regular Deposit                                                                                                                                 $479.50

Aug 27, 2019      Regular Deposit                                                                                                                                 $248.00

Aug 27, 2019      Ach deposit                                                                                                                                     $865.47
                  MERCHE-SOLUTIONS MERCH DEP

Aug 28, 2019      Ach deposit                                                                                                                                       $0.33
                  INTUIT PAYROLL S QUICKBOOKS

Aug 28, 2019      Ach deposit                                                                                                                                       $0.42
                  INTUIT PAYROLL S QUICKBOOKS

Aug 28, 2019      Ach deposit                                                                                                                                   $2,148.88
                  MERCHE-SOLUTIONS MERCH DEP


Daily Balances
 Date                                           Balance     Date                                          Balance      Date                                      Balance
 Aug 02, 2019                                     $0.00     Aug 13, 2019                               $10,322.90      Aug 22, 2019                            $16,845.74
 Aug 02, 2019                                 $8,109.14     Aug 14, 2019                                $9,309.32      Aug 23, 2019                            $18,300.94
 Aug 05, 2019                                 $7,368.41     Aug 15, 2019                               $10,240.55      Aug 26, 2019                             $7,728.07
 Aug 07, 2019                                 $7,260.68     Aug 16, 2019                                $9,615.94      Aug 27, 2019                             $7,783.36
 Aug 08, 2019                                $13,141.04     Aug 19, 2019                                $6,641.74      Aug 28, 2019                             $9,650.56
 Aug 09, 2019                                $14,499.83     Aug 20, 2019                                $6,589.94      Aug 29, 2019                             $9,561.30
 Aug 12, 2019                                 $8,382.57     Aug 21, 2019                               $18,403.92      Aug 30, 2019                             $8,853.12




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